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y.$. DISTRICT COURT
UNITED STATES DISTRIGRT@URISTRICT OF LA

EASTERN DISTRICT OF LOWESARNAB PM 4: Ob
LORETTA G. WHYTE

EDWARD BAHWELL * CIVIL q N

* NO. 00-0541
VERSUS * SECTION “R”
STANLEY-BOSTITCH, INC., * MAGISTRATE NO. 3
STANLEY WORKS, INC. AND
GARY DURALL * JURY DEMAND

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* * * * * * * * * * * * * *

JOINT MOTION TO SEAL

NOW INTO COURT, through undersigned counsel, come plaintiff, Edward Bahwell, and
defendant, The Stanley Works, who jointly move as follows:
I.
Plaintiff filed suit arising out of an accident which occurred on January 19, 1999.
II.

Defendant contends that the Petition for Damages fails to state a claim upon which relief can
be granted against defendant, and further does in fact not state a claim upon which relief can be
granted against defendants.

II.
A Confidentiality Agreement and Protective Order was entered herein on the 6th day of

December, 2001.

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IV.
Plaintiff and defendant have moved to dismiss these proceedings with prejudice, and jointly

represent to this Honorable Court that it is in the best interest of all parties herein that this record be

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Attorney for Plaintiff, Edward Bahwell

sealed and that this Motion to Seal be granted.

 

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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

EDWARD BAHWELL * CIVIL ACTION

* NO. 00-0541
VERSUS * SECTION "R"
STANLEY-BOSTITCH, INC., * MAGISTRATE NO. 3
STANLEY WORKS, INC. AND
GARY DURALL * JURY DEMAND

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* * ** * * * * * * * * * *

ORDER

Upon considering the Joint Motion to Seal the Record filed on behalf of plaintiff, Edward
Bahwell and defendant, The Stanley Works:

IT IS ORDERED that the Joint Motion to Seal Record be and the same is hereby granted and
that the Clerk of Court for the United States District Court for the Eastern District of Louisiana be
and is hereby ordered to mark this Record “SEALED.”

New Orleans, Louisiana this day of , 2002.

 

UNITED STATES DISTRICT JUDGE

 

 
